Case 5:22-cv-00844-SSS-SHK   Document 1-2   Filed 05/19/22   Page 1 of 14 Page ID
                                     #:7




     EXHIBIT “B”
      Case 5:22-cv-00844-SSS-SHK                          Document 1-2       Filed 05/19/22       Page 2 of 14 Page ID
                                                                  #:8                    COPY
                 Alan Romero (SBN 249000)
                 Ted Wells (SBN 321696)
           2     Angela Xie (SBN 333530)                                                               Fi LE 0
                                                                                               SUPERIOR COURT OF CALIFORNIA
                 Lucas E. Rowe (SBN 298697)                                                     COUNTY OF SAN BERNARDINO
           3                                                                                     SAN 9E~NAP.0INO l'llS~ICT
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                 25 l S. Lake A venue, Suite 930
           4     Pasadena, CA 9110 l-4873                                                             JAN 20 2022
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           6
                 Attorneys for Plaintiff
X          7
                 PAUL JOHNSON
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al
           9                                     SUPERIOR COURT OF THE STATE OF CALIFOR.t~IA
          10                                                COUNTY OF SAN BERNARDINO
          lJ 1 t , ! ... . :
                       I .   ..   I   I ...


          12 · :P'AUL JOHNSON, an .ihdividual;
               1: ·   .
                                                                                   Case No.:     CIV SB 2 2 0 1 2 3 3
          13 ,                     Plaintiff,                                      UNLIMITED COMPLAINT FOR
          14 ·                                                                     DAMAGES; DEMAND FOR JURY TRIAL
                             V.                                                                    t
          15                                                                      1) DENIAL OF MEDICAL CARE (42 U.S.C § :
                 COUNTY OF SAN BERNARDINO, a public
                 entity; and DOES 1-99, inclusive;                                   1983 I 8TH AMENDMENT) (Individual
          16                                                                        defendants)
                             · ·; 1    COUNTY llfilefs_nctants.                   ) DENIAL OF MEDICAL CARE (42 U.S.C. §
          17                      SAN BERNARDINu                                    1983 / 8TH AMENDMENT) (Public entity
                                                                                    liability)
          18                          APR 2 Z 2U22
          19

          20
                             COMES NOW the Plaintiff Paul Johnson, ("Plaintiff'), who alleges the following facts in
          21
                 support of his Unlimited Complaint for Damages and hereby respectfully demands a speedy jury
          22
                 trial on all causes of action stated herein as against County of San Bernardino ("the County"), who
          23
                 along with DOES 1-99, inclusive, are referred to herein as the "Defendants''. t
          24
                                                                     CASE SYNOPSIS
          25
                                              Plaintiff Paul Johnson was diagnosed with cancer months before being jailed for a
          26
                 minor probation violation. Before he was jailed, he received chemotherapy and treatment, including
          27
                 prescription drngs. As part of his chemotherapy, Johnson was given a wristband after each
          28
                 chemotherapy session that included information pertinent to his next treatment tnd which identified
                                                                              1
                                                       UNLIMITED COMPLAINT FOR DAMAGES
                                                                                                               Exhibit B - 001
Case 5:22-cv-00844-SSS-SHK           Document 1-2        Filed 05/19/22       Page 3 of 14 Page ID
                                             #:9

   1   him as a cancer patient.

   2           2.       When Johnson was arrested for his minor probation violation, failing to check in with
                                                                                                                        I
   3   his probation officer (something he was too sick to do), he informed the arresting Deputy that he :
                                                                                                                        I


   4   had cancer. Johnson showed the deputy his wristband and his prescription drugs.                                 ·!'

   5           3.       When Johnson arrived at the jail, his prescription drugs were confiscated. His 1
                                                                                         .•  ,
   6   wristband was cut. Johnson's jail intake medical records The County knew about his cancer and ·

   7   refused to treat it.

   8           4.       As a result, Johnson is blind in his left eye. He has disfiguring tumors on his head.

   9   He suffered head injuries in jail as a complication of his cancer, which got infected because his

  10   cancer weakens his immune system. The infections caused severe pain. Jqlmson' s blindness is

  11   permanent.

  12           5.       None of this would have happened to Johnson if the County had treated his cancer. ·

  13                     ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

  14                                          Jurisdiction and Venue                                          '   ·-
                                                                                         f
  15           6:      This Court has jurisdiction of the subject matter of Plaintiff's claims. Jurisdiction 'is

  16   proper in this Court because the damages and claims alleged and demanded herein by Plaintiff ·

  17   exceed $25,000, and Plaintiff herein does make a demand and prayer for damages in excess of the ,

  18   jurisdictional minimum of this Court.

  19           7.      This Court has personal jurisdiction over Defendant q)UNTY · OF · SAN

  20    BERNARDINO, in that it was, at all times relevant to this action, a California charter county and

  21    a political subdivision of the State of California maintaining all of its places of business in the

  22    County of San Bernardino.

  23           8.      Venue in this Court is proper, in that on information and belief, Defendants reside in

  24   the County of San Bernardino.

  25           9.      All the harm suffered by Plaintiff took place within this judicial district.

  26                                                 The Parties

  27           10.     Plaintiff PAUL JOHNSON was a convicted prisoner in custody at the West Valley

  28   Detention Center for a violation of his probation. He is currently out of je,il. Mr. Johnson has

                                                         2
                                  UNLIMITED COMPLAINT FOR DAMAGES                                Exhibit B - 002
Case 5:22-cv-00844-SSS-SHK          Document 1-2        Filed 05/19/22      Page 4 of 14 Page ID
                                           #:10

   1   leukemia and lymphoma.

   2           11.     Defendant County of San Bernardino, California is, and was at all times relevant to
                                                                                       ~
   3   this lawsuit, a California charter county and a political subdivision of the State of California, duly

   4   organized and existing as provided by California law. The County of San Bernardino owns and

   5   operates the West Valley Detention Center, where Plaintiff was incarcerated.

   6                                           Factual Allegations

   7           12.     Plaintiff Paul Johnson was incarcerated at the West Valley D~tention Center, 9500

   8   Etiwanda Ave, Rancho Cucamonga, CA 91739, from approximately May 15, 2021 to August 18,

   9   2021. During that time, the County refused to treat Johnson's cancer. As a result, the cancer has

  10   spread throughout his body. He now has tumors on his head and is blind in one eye.

  11           13.     Johnson was diagnosed with cancer on or about February 5, 2021. He was prescribed

  12   approximately·eight different medications, IV chemotherapy, and weekly blocid transfusions by the '

  13   diagnosing doctor, who also oversaw Johnson's treatment. Johnson has leukemia and lymphoma\.

  14   Johnson's cancer treatment began immediately upon diagnosis and continued uninterrupted for

  15   approximately three months, until the County knowingly and willfully refused to treat his cancer.

  16   Part of Johnson's treatment protocol is, during chemotherapy appointments; providing him.with; a

  17   Wristband to wear until his next appointment. The wristband identifies Johnson as a cancer patient

  18   and contains information pertinent to his next chemotherapy treatment. The wristband is provided

  19   to Johnson by a medical care provider. The chemotherapy relies on the information set forth on

  20   Johnson's wristband at his next therapy session. Johnson would wear the wristband between

  21   appointments.

  22          14.      Johnson was arrested on or about May 15, 2021 for a violation of his probation.

  23   Johnson failed to contact his probation officer. At the time, Johnson was bedridden from illness and

  24   did not have the strength to pick up the phone to make contact. Nevertheless, a warrant issued for

  25   his arrest for failure to contact his probation officer, and Johnson was arreste<\-by a San Bernardino

  26   County Sheriffs Deputy.

  27          15.      When Johnson was arrested, he was wearing his chemotherapy wristband, which

  28   identified him as a chemotherapy patient. Johnson also had a bag filled with his prescriptions. The

                                                        3
                                UNLIMITED COMPLAINT FOR DAMAGES
                                                                                           Exhibit B - 003
Case 5:22-cv-00844-SSS-SHK            Document 1-2       Filed 05/19/22      Page 5 of 14 Page ID
                                             #:11

    1   bag was from a local pharmacy and could have been readily identified as such. The bag contained

   2    only Johnson's prescription medication, in the appropriate prescription bottles. At the time of his

   3    arrest, Johnson told the arresting Deputy that he had cancer.

   4              16.   Shortly after his arrest, the arresting Deputy took Johnson to "Arrowhead Regional

   5    Medical Center, where he was screened for COVID-19 before being taken to the West Valley

   6    Detention Center. Johnson tested negative. At that time, Johnson told the nurse at Arrowhead and

   7    the arresting Deputy that he had acute lymphoblastic leukemia. The nurse tested Johnson's blood-

   8    and informed him and the arresting Deputy that Johnson was on the verge of needing a blood
                                                                                         if.-'

   9    transfusion, in that Johnson's hemoglobin count was low. Johnson was then taken to jail at the West

  10    Valley Detention Center.

  11              17.   Johnson's intake screening at West Valley Detention Center was performed by a

  12    Deputy Sheriff, not any medical personnel. Johnson told the intake Deputy that he had leukemia.

  13    Johnson was wearing his chemotherapy wristband at the time. Johnson was carrying his prescriptioa

  14    medication when he entered the jail, which was in prescription bottles· conspicuously labeled as

  15    such, with Johnson's name on the bottle, and which were in a bag from a local pharmacy that was

  16    readily identifiable as being from a local pharmacy. The jail confiscated these medications. As·

  17    Johnson would learn when he was released from jail, jailers put his prescription medication with the
                                                                                        f'
  18    rest of his belongings and stored them along with his clothes and other personal affects. After jailers

  19    confiscated Johnson's prescription medication necessary to treat his cancer, and despite his recent

  20    negative test for COVID-19, Johnson was placed in COVID quarantine for a period of two weeks.

  21              18.   At an early point during Johnson's incarceration, a one of Johnson's family members

  22    drove to the West Valley Detention Center with medical documents relatingto Johnson's cancer

  23    diagnosis and medical treatment, and provided the same to unknown persons at the jail. These

  24    documents and the information within them did not move anyone at the jail to treat Johnson for his

  25    cancer.

  26              19.   West Valley Detention Center's COVID quarantine protocol at the time of Johnson's
                                                                                        t
  27    incarceration there was solitary confinement, allowing Johnson out of his one-man cell for periods

  28    of 30 minutes at a time. While Johnson was in quarantine, he could not use the telephone, nor could

                                                         4
                                 UNLIMITED COMPLAINT FOR DAMAGES                                 Exhibit B - 004
Case 5:22-cv-00844-SSS-SHK          Document 1-2        Filed 05/19/22      Page 6 of 14 Page ID
                                           #:12


   1   he request medical attention through one of the electronic kiosks by which inrilates at West Valley
   2   Detention Center can use to file grievances, request medical care, or address other matters. However,
   3   Johnson was attended to by a jailer on approximately an hourly basis when he was in COVID
   4   quarantine. Johnson mentioned his cancer and his medications to the attending jailer at least once
   5   per day during this two-week period. Johnson mentioned his cancer and mediptions to new jailers
   6   at shift changes. From time to time, a jailer would promise to look into it, but no one ever did.
   7   Johnson went without any meaningful medical treatment during this time. Johnson wore his
   8   chemotherapy wristband during this period.
   9          20.     After completing COVID quarantine, Johnson was assigned to the jail's general
  10   population. Johnson was housed not in medical housing, but instead, in a 60�man dormitory with
  11   bunk beds stacked two high in a big open room. The dormitory had a kiosk in it, at which Johnson
  12   could request medical attention. He did so on the first day of his assignment to the dormitory.
  13   Approximately 4 days later, Johnson was sent to the jail clinic. There, he told the nurse about his
  14   leukemia, and his treatment for it, including his chemotherapy and prescription
                                                                                     ft
                                                                                        drugs. A jailer was
  15   present during the medical consultation per County policy. Johnson was wearing his chemotherapy
  16   wristband during this meeting. The jailer cut Johnson's chemotherapy wristband 'off at that time.
  17   The nurse tested Johnson's blood and received a reading of low hemoglobin. The nurse said, "that
  18   can't be right," tested Johnson's blood again and satisfied herself that Johnson could be sent back
  19   to the dormitory. The nurse then sent Johnson back to the dormitory. The nu!se did not administer
  20   any of Johnson's prescription medications. The nurse did not make any plan of care for Johnson.
  21   The nurse did not order that Johnson be housed in medical housing. The nurse did not make any
  22   arrangements for Johnson to receive chemotherapy.
  23          21.     Johnson soon became extremely ill. He grew weak and knew that he needed a blood
                                                                                      t
  24   transfusion. He became clumsy and would hit his head on the bunk beds. He requested treatment
  25   for weeks at the kiosk.
  26          22.     Approximately two months after he was jailed, Johnson was sent to the jail infirmary,
  27   where he was placed in medical housing. He was not given his prescription medication and he was
  28   not given chemotherapy. After midnight one night while Johnson was at the in:fumary, a nurse pulled

                                               5
                                 UNLIMITED COMPLAINT FOR DAMAGES                          Exhibit B - 005
Case 5:22-cv-00844-SSS-SHK          Document 1-2       Filed 05/19/22      Page 7 of 14 Page ID
                                           #:13

   1   him out of bed for an evaluation. She determined that he needed to go to the emergency room.
   2   Johnson was taken to Arrowhead Regional Medical Center.
   3           23.    Johnson was at Arrowhead Regional Medical Center for approximately 6 hours. He

   4   was given a CAT scan. The doctor there told Johnson that he had hematomas and internal injuries.
   5   No tumors were detected on Johnson's head, and Johnson had stereo vision at the time. Johnson told
   6                                                                              " treating him for it.
       the doctor that he had leukemia and that West Valley Detention Center was n9t
   7   Johnson was ignored, and taken back to jail.

   8           24.    When Johnson was taken back to jail, jailers tried to put him on suicide watch. He
   9   was not suicidal and said so. The mental health nurse was busy, so jailers sent Johnson back to his

  10   cell.
  11           25.    On or about August 11, 2021, Johnson's medical condition h!d deteriorated to the
  12   point that he was taken to the jail ward of Arrowhead Regional Medical Center. He was kept

  13   shackled to a bed for a week. He was given N antibiotics because his head wounds had become

  14   infected, because his immune system was nearly nonexistent because of his cancer. Johnson was in
  15   severe pain, a:nd would scream in pain while lying shackled to his bed. The µurse refused to treat

  16   Johnson's pain, falsely telling him that there was nothing that could be done about it. In truth, the
  17   nurse willfully refused to administer medically necessary painkillers. Medical staff did not treat
  18   Johnson's cancer at all.

  19           26.    On or about August 18, 2021, Johnson was released from jail, while still in the jail

  20   ward at Arrowhead Regional Medical Center. Johnson left of his own accord !nd returned to Loma

  21   Linda University Medical Center, where he received treatment for his cancer prior to being denied
  22   it by the County.
  23           27.    The County completely refused to treat Johnson's cancer while he was in its custody,
  24   despite being on actual notice of Johnson's cancer. The only medication Johnson was given for it
                                                                                      �
  25   was Tylenol, even though Johnson brought a bag of his prescription medications to the jail with
  26   him. Johnson's prescription medications were provided to him when he was released from jail, along
  27   with the rest of his personal effects on him when he entered the West Valley Detention Center.

  28

                                                        6
                                  UNLIMITED COMPLAINT FOR DAMAGES                         Exhibit B - 006
Case 5:22-cv-00844-SSS-SHK          Document 1-2        Filed 05/19/22      Page 8 of 14 Page ID
                                           #:14

   1          28.     As a result of the County's refusal to treat his cancer, Johnson has developed

   2   disfiguring tumors on his head, and has lost stereo vision. The cancer spread to his optic nerve,
   3   damaged it, and caused Johnson to lose sight in his left eye. Johnson is blind in his left eye because

   4   the County refused to treat his cancer, when it knew that he had cancer. This condition is permanent..

   5          29.     Defendant County of San Bernardino subjects all people confined in its jails,

   6   including Johnson, to a substantial risk of injury and death by failing to provide adequate medical

   7   care. People in the County of San Bernardino's jail are entirely dependent on·the County for their

   8   basic health care needs. But the County has a policy and practice of inadequately screening for

   9   serious health care conditions and disabilities, delaying access to clinicians and medications,
  10   understaffing health care professionals, delaying access to specialty care such as the oncology
  11   treatment that the County wrongfully denied Plaintiff Johnson, and failing to provide the full array

  12   of services necessary to meet minimum standards of care. The County of San Bernardino is

  13   deliberately indifferent to the risk of harm caused by these serious failures to adequately provide

  14   health care.

  15          30.     The County has a policy and practice of failing to adequately complete the most
  16   important encounter in a medical care delivery system-the intake screening: An adequate intake

  17   screening is necessary because it identifies medications, infectious diseases, and health conditions

  18   that must be addressed to prevent injury and death. The County assigns jailers to conduct the
  19   majority of the intake screenings. These jailers are not qualified to recognize and respond to the
  20   signs and symptoms of serious medical conditions such as cancer, substance withdrawal, or
                                                                                       ~
  21   infections disease. They are not qualified to identify, nor does the County, verify, prescribed

  22   medications for people entering the jail, especially for those who are in extreme distress, have
  23   cancer, or are under the influence of drugs.

  24          31.     Mr. Johnson's intake is no exception. His intake documents check the ''yes" box for

  25   "any injuries or illnesses?" and check the "yes" box for "any required medication"? Yet he was

  26   assigned to the general population, not medical housing, nor the jail ward of Arrowhead Regional

  27   Medical Center, and he was not referred for further medical screening by jail medical staff. The

  28   County had actual knowledge of Johnson's cancer and need for medication, yet it refused to provide

                                                        7
                                UNLIMITED COMPLAINT FOR DAMAGES                            Exhibit B - 007
Case 5:22-cv-00844-SSS-SHK          Document 1-2       Filed 05/19/22      Page 9 of 14 Page ID
                                           #:15

   1   him treatment for his cancer and it refused to provide him his necessary medication.
                                                                                  ;,)
                                                                                            With actual

   2   knowledge of Johnson's cancer and need for medication, the County refused to house him

   3          32.     The County does not consistently respond in a timely manner, if it responds at all, to
                                                                                                              .
   4   people who submit requests for medical treatment regarding serious medical conditions. For

   5   example, Johnson requested medical treatment for his cancer. The County refused to provide it. It

   6   took the County 4 days to respond to Johnson's request for treatment via kiosk, which was not his

   7   first request. Johnson requested medical treatment for weeks for his head injuries before being

   8   treated for them. Relatedly, former inmate Zachery Shovey (who is no longer in County custody)

   9   reported seizures on February 22, 2015 and March 1, 2015, and indicated that his seizure
  10   medications may need to be adjusted. Medical staff did not respond to either report. Mr. Shovey
                                                                                      I"

  11   was not evaluated by medical staff until a jailer made an emergency call on April 3, 2015 to report

  12   that Mr. Shovey was having another seizure. Johnson's ordeal was substantially identical, an~

  13   compounding the failure, it was approximately 5 years later. Many of these types of emergencies,

  14   including those that require hospitalizations, could be avoided if the County had a policy and

  15   practice of timely responding to requests for medical treatment.

  16          33.     The County does not have a functioning system to ensure that people receive timely

  17   access to specialty care and that specialists' treatment recommendations are provided. Jail medical

  18   care providers fail to monitor inmates' specialty services once they have been referred, and thus do

  19   nothing when a specialty appointment is missed or when a specialist recommends treatment that
                                                                                      ii'

  20   must be ordered by a jail provider. Similarly, the County does not have an effective system to timely

  21   receive diagnostic test results that are necessary for adequate treatment of serious medical

  22   conditions.

  23          34.     The County has a policy and practice of failing to adequately review, document, or

  24   correct any deficiencies in care. For people who die in custody, the County'!practice is to gather

  25   records at least 8-12 months regarding the death and confer with its attorneys. There are no

  26   documented findings or conclusions from the records. For people who do not die in custody, there

  27   is no assessment or evaluation of the overall quality of care, identification of problems or

  28   shortcomings in the delivery of care, corrective action to overcome these deficiencies, or follow-up
                                                                                      t'

                                              8
                                UNLIMITED COMPLAINT FOR DAMAGES                             Exhibit B - 008
Case 5:22-cv-00844-SSS-SHK             Document 1-2     Filed 05/19/22      Page 10 of 14 Page
                                            ID #:16

   1   monitoring to ensure corrective steps are effective. The County's failure to implement an effective

   2   quality assurance program results in a substantial risk of harm of preventable injury and death, such
   3   as the entirely preventable complications of Johnson's cancer that resulted in disfiguring tumors,

   4   head injuries, and blindness.
   5                                      FIRST CAUSE OF ACTION

   6                                     DENIAL OF MEDICAL CARE

   7                               42 U.S.C. § 1983 / 8th Amend. U.S. Const.

   8                                    (Against Defendants DOES 1-99)

   9          35.     Plaintiff realleges, and incorporates herein by their reference, each and every_
  10   allegation contained in the foregoing paragraphs, inclusive, as though fully set forth herein.

  11          36.     Plaintiff suffered from cancer. Plaintiffs cancer needed to be treated in order to

       prevent further significant injury and wanton infliction of pain, including but not limited to
                                                                                       ":
  12

  13   disfiguring tumors on the head, blindness in the left eye, bruises, and painful infections caused by

  14   Plaintiffs weak immune system, a complication of his cancer. Plaintiff's cancer constituted a

  15   serious medical need.
  16          37.     DOES 1-99, and each of them, had actual knowledge of PlaintJ.ffs cancer and need
  17   for medication for his cancer. One such DOE defendant saw Plaintiffs chemotherapy wristband and

  18   cut it. Other DOE defendants were informed that Plaintiff had cancer; some of these told Plaintiff

  19   that they would look into it but did not, while others did nothing. Other DOE defendants were jail
  20   medical staff who had actual knowledge of Plaintiffs cancer and did not treat it. Still other DOE
  21   defendants were jail intake screeners who knew of Plaintiffs cancer and did not refer him for
  22   medical screening. Other DOE defendants received Plaintiffs medical documents setting forth

  23   Plaintiffs diagnosis of cancer, read them, and did nothing.

  24          38.     DOES 1-99, and each of them, were deliberately indifferent to Plaintiffs serious

  25   medical need, specifically, his cancer.

  26          39.     DOES 1-99 acted under color of California law at all times relevant to this action.
  27          40.     The acts and omissions of DOES 1-99, and each of them, each of them having actual

  28   knowledge of Plaintiffs cancer, caused Plaintiffs injuries.

                                              9
                                UNLIMITED COMPLAINT FOR DAMAGES                             Exhibit B - 009
Case 5:22-cv-00844-SSS-SHK            Document 1-2       Filed 05/19/22       Page 11 of 14 Page
                                           ID #:17

   1           41.     As the result of the acts and omissions of DOES 1-99, who were deliberately

  2    indifference to Plaintiffs cancer, Plaintiff was harmed. He has disfiguring tumors on his head. He

   3   is blind in his left eye. He suffered bruises and pain. He can no longer work in construction, his

  4    trade, because he lacks stereo vision and cannot safely judge depth.

   5           42.     DOES 1-99 acted with malice and oppression, as those terms apply to Civ. Code §

   6   3294, meriting an award of punitive damages.

   7                                    SECOND CAUSE OF ACTION

   8                                    DENIAL OF MEDICAL CARE

   9                                42 U.S.C. § 1983 / 8th Amend. U.S. Const.

  10                                       (Against Defendant County)

  11           43.     Plaintiff realleges, and incorporates herein by their reference, each and every

  12   allegation contained in the foregoing paragraphs, inclusive, as though fully set forth herein.

  13           44.     Plaintiff suffered from cancer. Plaintiffs cancer needed to lfe treated in order to

  14   prevent further significant injury and wanton infliction of pain, including but not limited to

  15   disfiguring tumors on the head, blindness in the left eye, bruises, and painful infections caused by

  16   Plaintiffs weak immune system, a complication of his cancer. Plaintiffs cancer constituted a

  17   serious medical need.
                                                                                       f
  18           45.     Plaintiff repeatedly informed multiple jailers and jail medical service providers that

  19   he had cancer. At times when Plaintiff so informed the jailers and jail medical service providers,

 20    Plaintiff had his prescription medications for cancer and/or a wristband on that identified him as a

 21    cancer patient. At one point, a jailer cut this wristband off Plaintiffs body. Defendant County knew

  22   of and disregarded Plaintiffs cancer.                                           ,:

 23            46.     The County was deliberately indifferent to Plaintiffs senous medical need,

 24    specifically, his cancer.

 25            47.     As set forth above, the County' s official policies are the moving force of Plaintiffs

 26    injuries.
                                                                                       t
 27            48.     Additionally, as is evident from the foregoing, the County has not trained its jailers

 28    and its medical staff about appropriately treating inmates who have serious health issues, such as

                                                        10
                                   UNLIMITED COMPLAINT FOR DAMAGES                           Exhibit B - 010
                                                                                       ...
Case 5:22-cv-00844-SSS-SHK            Document 1-2       Filed 05/19/22      Page 12 of 14 Page
                                           ID #:18


   1   cancer, like Plaintiff. The County knows that it jails people with serious medical conditions, but

   2   does not provide adequate training with respect to adequate medical care for such people to its

   3   officers and employees who come into contact with them.

   4             49.   Additionally, the County has an official policy, practice, or custom with the force of

   5   law, to not adequately screen or provide healthcare to inmates at the West Valley Detention Center.

   6             50.   Additionally, in the alternative, and on information and belief, Plaintiffs cancer and.

   7   denial of treatment was brought to the attention of the appropriate final policymaker for the County
   8   of San Bernardino with respect to the provisioning of medical care to inmates, who approved such
   9   denial.

                 51.
                                                                                       .-
                       As a result of the County's deliberate indifference to Plaintiffs.cancer, Plaintiff was
 10
  11   harmed. He has disfiguring tumors on his head. He is blind in his left eye. He suffered bruises and

  12   pain. He can no longer work in construction, his trade, because he lacks stereo vision and cannot
  13   safely judge depth.

  14             52.   Plaintiff expressly DOES NOT seek punitive damages agai� the County of San

  15   Bernardino.

  16   //
  17   //

  18   //
  19   //
  20

  21                                                                                                          I   I



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                                UNLIMITED COMPLAINT FOR DAMAGES                             Exhibit B - 011
Case 5:22-cv-00844-SSS-SHK            Document 1-2         Filed 05/19/22    Page 13 of 14 Page
                                           ID #:19

   1                                         PRAYER FOR RELIEF

   2           WHEREFORE, Plaintiff prays for judgment as against Defendants, jo¥1tly and severally, as

   3   follows, for:

   4        1) Compensatory damages in an amount according to proof at time of trial.

   5        2) Attorney's fees and costs pursuant to all applicable statutes or legal principles, including,

   6        but not limited to: 42 U.S.C. § 1988.
                                                                                      1"
   7        3) Punitive, or exemplary damages pursuant to Civ. Code § 3294 as against the individual
   8        defendants only. Plaintiff does not seek punitive damages against the County, following City of
   9        Newport v. Fact Concerts, Inc., 453 U.S. 247 (1981).

  1o        4) Costs of suit incurred.

  11        5) Civil penalties as permitted by statute.

  12        6) Prejudgment interest on all amounts claimed as permitted by law.

  13        7) Post judgment interest on all amounts as permitted by law.

  l4        8) All other general, specific, direct, indirect, consequential, and incidental damages, in an

  15        amount according to proof at time of trial.

  16        9) Such other and further relief as the Court may deem proper.

  17
                                                                ROMERO LAW, APC
  18

  19
       DATED: January 19, 2022                            By:
  20                                                            Alan Romero (SBN 24~000)
                                                                Ted Wells (SBN 321696)
  21                                                            Angela Xie (SBN 333530)
                                                                Lucas E. Rowe (SBN 298697)
  22                                                            Attorneys for Plaintiff
  23                                                            PAUL JOHNSON
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                                 UNLIMITED COMPLAINT FOR DAMAGES                           Exhibit B - 012
Case 5:22-cv-00844-SSS-SHK          Document 1-2       Filed 05/19/22      Page 14 of 14 Page
                                         ID #:20
                                        DEMAND FOR JURY TRIAL
   1

  2    Plaintiff hereby makes demand for Jury Trial, and has timely posted the jury fee deposit.

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                                                            ROMERO LAW, APC
  4

   5   DATED: January 19, 2022                        By:
  6                                                         Alan Romero (SBN 249000)
                                                            Ted Wells (SBN 321696)
  7                                                         Angela Xie (SBN 333530)
                                                            Lucas E. Rowe (SBN 298697)
   8                                                        Attorneys for Plaintiff
                                                            PAUL JOHNSON
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                               UNLIMITED COMPLAINT FOR DAMAGES                       t Exhibit B - 013
